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  13                        UNITED STATES DISTRICT COURT
  14                 CENTRAL DISTRICT OF CALIFORNIA
       MARCUS GRAY, et al.,
  15
                   Plaintiffs,              CASE NO. 2:15-cv-05642-CAS (JCx )
  16
             v.                             Honorable Christina A. Snyder
  17
     KATHERYN ELIZABETH                    PLAINTIFFS’ UNOPPOSED
  18 HUDSON, et al.,
                                           MOTION TO RECOVER COSTS
  19               Defendants.             PURSUANT TO LOCAL RULE 54-
  20                                       3.12

  21                                       Filed: July 1, 2014
  22                                       Trial: July 17, 2019

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        PLAINTIFFS’ UNOPPOSED MOTION TO RECOVER COSTS PURSUANT TO LOCAL RULE 54-3.12
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   1
           Pursuant to Local Rule 54-3.12, Plaintiffs Marcus Gray, Emanuel Lambert, and
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       Chike Ozukwu respectfully move this Court for an order taxing as additional costs
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       in this matter the $4,981.00 they incurred in the creation of charts, diagrams, and
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       other visual and audio demonstrative aids that were reasonably necessary in
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       assisting the jury in Plaintiffs’ presentation of their claim for copyright
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       infringement at trial. In support of this Motion, Plaintiffs state as follows:
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           1. On September 25, 2019, Plaintiff filed their Application to the Clerk to Tax
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       Costs Against Defendants, which included the various costs allowed under Local
   9
       Rule 54-3.1 to 54-3.10. (Dkt. 476)
  10
           2. Local Rule 54-3.12 authorizes the Court to tax as additional costs various
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       demonstratives and other “visual aids reasonably necessary to assist the jury or the
  12
       Court in understanding the issues at trial.” Andreson v. Int’l Paper Company, 2015
  13
       WL 3648972 (C.D. Cal. 2015)(Snyder, J.) (awarding costs for services related to
  14
       the direct production of visual aids used at trial).
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           3. In Plaintiffs’ presentation of their case to the jury they incurred $4,981.00
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       for the creation and presentation of trial graphics and audio demonstrations used in
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       their opening and closing statements and in their examination and cross-
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       examination of witnesses, as more fully set forth in the attached Declaration of
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       Michael A. Kahn and Exhibit A to that Declaration.
  20
           4. These visual and audio aids that Plaintiffs used were necessary and essential
  21
       to the jury verdict in their favor. Specifically, Plaintiffs used trial graphics to
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       simplify otherwise complex issues, such as the various extrinsic similarities
  23
       Professor Todd Decker identified in his comparison of the ostinatos in the two
  24
       songs or, in closing argument, the manifest flaws in the Defendants’ musicologist’s
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       attempts to identify prior art. As such, the trial graphics were “integral to the jury’s
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       understanding of the issues and the efficient conduct of the trial.” Dowd v City of
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     Los Angeles, 28 F.Supp.3d 1019, 1049 (C.D. Cal. 2014).
  28                                        2
        PLAINTIFFS’ UNOPPOSED MOTION TO RECOVER COSTS PURSUANT TO LOCAL RULE 54-3.12
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           5. In accordance with Local Rule 7-3, Plaintiffs’ counsel and Defendants’
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       counsel conferred several times in advance of this motion and were able to reach a
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       resolution that eliminates the necessity for a hearing on this motion. As a result of
   4
       those conferences, Plaintiffs have eliminated all costs incurred on July 28, 2019
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       and reduced by half their request for reimbursement of costs incurred on July 29,
   6
       2019, as more fully explained in the Declaration of Michael A. Kahn.
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           6. As a result of those reductions, Defendants’ counsel advised Plaintiffs’
   8
       counsel that Defendants do not oppose this motion.
   9
           Wherefore, Plaintiffs respectfully request that the Court grant its Motion
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       Recover Costs Pursuant to Local Rule 54-3.12 in the amount of the $4,981.00.
  11
           Plaintiffs have attached to this Motion and will separately file in Word format a
  12
       Proposed Order.
  13
  14                                         Respectfully submitted,
  15                                         /s/ Michael A. Kahn
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        PLAINTIFFS’ UNOPPOSED MOTION TO RECOVER COSTS PURSUANT TO LOCAL RULE 54-3.12
